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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

   JOSHUA ATCHLEY et al.,                         )
                                                  )
                           Plaintiffs,            )
                                                  )       Case No. 1:17-CV-02136 (RJL)
            v.                                    )
                                                  )
   ASTRAZENECA UK LTD., et al.,                   )
                                                  )
                           Defendants.            )


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EXHIBIT 1        Index of Exhibits
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EXHIBIT 2        Michael Gordon & General Bernard Trainor, The Endgame: The Inside Story of the
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